 Case 1:17-cr-10004-STA         Document 522 Filed 03/13/18            Page 1 of 1     PageID
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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                        CASE NO.:     1:17‐cr‐10004‐STA‐14

BOBBY McELRATH,

       Defendant.




            ORDER GRANTING MOTION TO CONTINUE AND NOTICE OF RESETTING




This matter came to be heard upon the Motion on behalf of the Defendant, Bobby McElrath

requesting an Order Granting Motion to Continue Change of Plea Hearing. The Court finds that

this request is well taken and should be granted, and the hearing date will be on the 26th day of

March, 2018 at 1:00PM.


       IT IS SO ORDERED, this 13th day of March, 2018.




                                                    s/S. Thomas Anderson
                                                    Chief U.S. District Court Judge
